
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-089-CV



PATRICIA MCCALLUM	APPELLANT



V.



WALLACE ROBERTS	APPELLEE



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FROM COUNTY COURT 
AT LAW NO. 2 OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the parties’ “Joint Motion To Dismiss With Prejudice.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the 
party incurring the same, for which let execution issue. &nbsp;
See 
Tex. R. App P.
 
43.4.

PER CURIAM

PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: June 22, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




